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IN THE UNITED sTATEs DISTRICT coU§T£W ifr
FoR THE wEsTERN DISTRICT oF TENNESSEE

 

  
 
 

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w:LFREDo LORA, X @~ 1 EOMH
l , 'i‘~i':.;`v':;FH§S
Plaintiff, X
X
vs. X No. OQ-ZBZl-D/V
X
THoMAs HoLLENHoRsT, 1
wiLLIAM FITZPATRICK, and, X
TIMOTHY MCGRANT, x
X
Defendants. l
X

 

ORDER DENYING MOTION FOR RECONSIDERATION
AND
ORDER PROHIBITING FURTHER FILINGS IN THIS CASE

 

On May 31, 2005, this action was transferred to the United
States District Court for the Eastern District of Virginia at
Alexandria pursuant to 28 U.S.C. § 1406(a). On June lO, 2005,
Plaintiff Wilfredo Lora placed in the prison mail system a motion
for reconsideration which he has styled as a motion under Fed. Rule
Civ. P. 59(e). Lora’s motion was filed within ten days of the
Court’s order of transfer, however, this case was transferred,
therefore no judgment was entered. No judgment exists which
plaintiff may “alter or amend.”

Furthermore, the motion states no proper basis for
consideration under Fed. Rule Civ. P. 60(b). Lora complains of
various rulings in other cases by United States District Judge
Leonie Brinkema who presides in the United States District Court
for the Eastern District of Virginia in Alexandria. He contends
that he will not receive fair and impartial review of his compla'-_

in that court.

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Lora was convicted of conspiracy to distribute and possess
heroin and cocaine with the intent to distribute in the United
States District Court for the Eastern District of Virginia. He was
sentenced to 292 months imprisonment. United States v. Lora, 26
Fed. Appx. 149 (4th Cir. Dec. 13, 2001). Lora previously filed a
motion to vacate his conviction under 28 U.S.C. § 2255, Lora v.

United States, No. 03-670 (E.D. Va May 22, 2003), and also sued

 

these defendants for breach of contract, Lora v. Hollenhorst, et
§lé, NO. 03-449, NO. 04-1184, 108 Fed. Appx. lOl (4th Cir. 2004).
Furthermore, his application to file a second or successive § 2255
motion was denied. See United States v. Lora, No. 04-6899, 112
Fed. Appx. 291 (4th Cir. 2004).1

In spite of plaintiff's view to the contrary, there are no
pending issues before the court. This case has been properly
transferred. To the extent plaintiff's allegations are of any
merit or substance, he may file the appropriate affidavits or
motions for disqualification or recusal in the Eastern District of

Virginia. Thus, upon review of the motion and its attachments, the

 

l The Court was unable to access the decisions of the United States

District Court for the Eastern District of Virginia to determine if this action
was duplicative of Case No. 03-449 for breach of contract or whether it presented
issues previously determined in his motion to vacate and/or request to file a
successive motion. Lora has now attached a copy of Judge Brinkema’s opinion
which clearly shows this complaint is repetitive and duplicative. This Court's
previous determination that the interests of justice required the transfer of
this case to allow the United States District Court for the Eastern District of
Virginia to determine if Lora's action is duplicative of a prior' case or
otherwise represents an abuse of the judicial system in an attempt to harass the
defendants is fully supported by plaintiff's own exhibit to this motion.
Plaintiff is not entitled to engage in serial litigation and forum shopping
simply because he is transferred to a prison outside his original district of
conviction.

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Court finds that the petitioner has raised no argument meriting
further discussion. The motion to reconsider is DENIED.

The Clerk is ORDERED not to file or otherwise accept any other
documents for filing in this action. Any further documents in this
case shall be returned to Lora. Lora's case is now pending before
the United. States District Court for the Eastern, District of
Virginia, and he must file further documents related to this matter
there, not here. This was not closed, but transferred, therefore,
there is no final order from which an appeal can be taken. The
order of transfer is a non-appealable collateral order, and any

appeal would be devoid Of jurisdiction.

IT rs so oRDERED this §O"& day of June, 2005.

 

B CE B. DONAL
UN ED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:04-CV-02821 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

Wilfredo G. Lora
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Honorable Bernice Donald
US DISTRICT COURT

